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                                  District Judge Daybook Entry

      United States District Court - Southern District of West Virginia at Huntington
 Date:                   5/8/2025                                   Case Number:            3:25-cv-00261

 Case Style:             Vyas vs. Noem

 Type of hearing:        Preliminary Injunction Hearing

 Before the Honorable:   2514-Chambers

 Court Reporter:         Carol Adams                                Courtroom Deputy:       Terry Justice

 Attorney(s) for the Plaintiff or Government:

 Aubrey Sparks

 Attorney(s) for the Defendant(s):

 Fred Westfall

 Law Clerk:              Ally Johnson

 Probation Officer:


                                                          Court Times

Start Time                   End Time                     Court Time Description

9:54 AM                      10:45 AM                     Non-Trial Time/Uncontested Time


Time in court: 0 hours and 51 minutes. Non-Trial Time/Uncontested Time


                                                    Courtroom Notes
Hearing scheduled to commence 10:00 a.m.
Hearing commenced 9:54 a.m.

Preliminary Injunction statements by counsel.
Defendants' exhibit #1 identified & admitted.

Preliminary Injunction granted.

Hearing concluded 10:45 a.m.
